      Case 4:20-cv-00237-RGE-SBJ Document 1-1 Filed 07/31/20 Page 1 of 6
              E-FILED 2020 MAY 04 7:34 AM WAPELLO - CLERK OF DISTRICT COURT




             IN THE IOWA DISTRICT COURT FOR WAPELLO COUNTY
______________________________________________________________________________

SEAN D. HARRIS,                     *
                                    *
      Plaintiff,                    *     NO. ______________________
                                    *
v.                                  *
                                    *
NAPCO, INC.,                        *     ORIGINAL NOTICE
                                    *
      Defendant.                    *
______________________________________________________________________________

TO THE ABOVE-NAMED DEFENDANT:

       You are notified that a petition has been filed in the office of the clerk of this court naming
you as the defendant in this action. A copy of the petition (and any documents filed with it) is
attached to this notice. The attorney for the plaintiff is Harley C. Erbe, whose address is 2501
Grand Avenue, Des Moines, Iowa 50312. That attorney’s telephone number is (515) 281-1460;
facsimile number (515) 281-1474.

       You must serve a motion or answer within 20 days after service of this original notice upon
you and, within a reasonable time thereafter, file your motion or answer with the Clerk of Court for
Wapello County at the county courthouse in Ottumwa, Iowa. If you do not, judgment by default
may be rendered against you for the relief demanded in the petition.

        If you require the assistance of auxiliary aids or services to participate in court because of a
disability, immediately call your district ADA coordinator. (If you are hearing impaired, call Relay
Iowa TTY at 1-800-735-2942).


                                                       _______________________________
                                                       CLERK OF COURT
                                                       Wapello County Courthouse
                                                       Ottumwa, Iowa


                                           IMPORTANT

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
INTERESTS
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STATE OF IOWA JUDICIARY                                                      Case No.   LALA106134
                                                                             County     Wapello
Case Title    HARRIS, SEAN D VS NAPCO, INC.

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (641) 684-6502 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued   05/04/2020 01:49:44 PM




District Clerk of Wapello                    County

/s/ Jennifer Nelson
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             IN THE IOWA DISTRICT COURT FOR WAPELLO COUNTY
______________________________________________________________________________

SEAN D. HARRIS,                     *
                                    *
      Plaintiff,                    *     NO. ______________________
                                    *
v.                                  *
                                    *
NAPCO, INC.,                        *     PETITION AT LAW
                                    *
      Defendant.                    *
______________________________________________________________________________

          COMES NOW the plaintiff and set forth his claims for relief and states:


                     JURISDICTIONAL AND GENERAL ALLEGATIONS

          1.     Plaintiff is a resident of Fort Madison, Lee County, Iowa.

          2.     Defendant is an active Iowa corporation with its principal place of business in

Ottumwa, Wapello County, Iowa.

          3.     Defendant employed Plaintiff from May 2018 until February 17, 2020.


                                           COUNT I
                                    (FLSA Overtime Violation)

          4.     Plaintiff realleges and incorporates by reference paragraphs 1-3 of this Petition as

if fully set forth herein.

          5.     This count is brought to enforce Plaintiff’s right to overtime under the Fair Labor

Standards Act (“FLSA”).

          6.     This court has jurisdiction over Plaintiff’s FLSA claim pursuant to 29 U.S.C. §

216(b).

          7.     During Plaintiff’s employment, he regularly exceeded forty hours of work per

week.


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          8.     During Plaintiff’s employment, he was engaged in commerce or in the production

of goods for commerce.

          9.     During Plaintiff’s employment, Defendant constituted an employer within the

definition of 29 U.S.C. § 203(d).

          10.    During Plaintiff’s employment, he was an employee within the definition of 29

U.S.C. § 203(e)(1).

          11.    During Plaintiff’s employment, Defendant constituted an enterprise, as defined by

29 U.S.C. § 203(r)(1), that was engaged in commerce or in the production of goods for

commerce, as defined by 29 U.S.C. § 203(s)(1)(A).

          12.    Under 29 U.S.C. § 207(a)(1), Plaintiff was entitled to overtime compensation at a

rate of not less than one-and-one-half his regular rate of pay for each hour over forty hours that

he worked for Defendant in a given week.

          13.    During Plaintiff’s employment, Defendant failed to comply with 29 U.S.C. §

207(a)(1) in that Plaintiff worked for Defendant in excess of forty hours a week but no provision

was made by Defendant to pay Plaintiff overtime compensation for those hours at the rate

required by 29 U.S.C. § 207(a)(1).

          14.    Defendant willfully violated 29 U.S.C. § 207(a)(1).

          WHEREFORE, Plaintiff prays for judgment against Defendant in an amount sufficient to

fully and fairly compensate him for his unpaid overtime compensation, together with liquidated

damages, reasonable attorney fees, interest thereon as provided by law, and the costs of this

action.




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                                           COUNT II
                        (Violation Of Iowa Wage Payment Collection Law)

        15.     Plaintiff realleges and incorporates by reference paragraphs 1-3 of this Petition as

if fully set forth herein.

        16.     This count is brought pursuant to the enforcement provisions of the Iowa Wage

Payment Collection Law, Iowa Code Chapter 91A.

        17.     Defendant agreed to pay Plaintiff a salary of $62,500 per year.

        18.     Defendant did not pay Plaintiff during mandatory, temporary layoffs, resulting in

Plaintiff receiving less than $62,500 per year.

        19.     Defendant has violated the Iowa Wage Payment Collection Law by failing to pay

Plaintiff his full earned wages.

        20.     Defendant has intentionally violated Iowa Code Chapter 91A.

        WHEREFORE, Plaintiff prays for judgment against Defendant in an amount sufficient to

fully and fairly compensate him for his unpaid wages, together with liquidated damages,

reasonable attorney fees, interest thereon as provided by law, and the costs of this action.




                                                      /s/   Harley C. Erbe
                                                      Harley C. Erbe, AT002430
                                                      ERBE LAW FIRM
                                                      2501 Grand Avenue, First Floor
                                                      Des Moines, Iowa 50312
                                                      Telephone: (515) 281-1460
                                                      Facsimile: (515) 281-1474
                                                      E-Mail: harleyerbe@erbelaw.com

                                                      ATTORNEY FOR PLAINTIFF




                                                  3
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                           E-FILED 2020 JUL 08 10:52 AM WAPELLO - CLERK OF DISTRICT COURT




 RETURN OF SERVICE
                                                     IN THE IOWA DISTRICT COURT FOR WAPELLO COUNTY.

 Case Name:                   Sean D. Harris vs. NAPCO, Inc                          RETURN OF SERVICE:                Type of
 Clerks Number:               LALA106134                                                                               Service
                                                                                                                        Code
 Agency Case Number:          C2001215
                                                                                       Personal                              1
 Notice Rec'd This Date:      07/02/20                                                 Dwelling/Substitute                   2
 I certify that I served a copy of :                                                   Hotel, Boarding/Rooming House         3
         Original Notice                                                               Corporation/Association               4
         Petition at Law                                                               Official (State, County, City)        5
                                                                                       Spouse away from residence            6
                                                                                     X Other                                 7
                                                                                       Diligent Search                       8


Served:                                                                                                                   Type Code
NAPCO, INC by serving PAUL ZINGG at 104 S. COURT, OTTUMWA, IA, 52501 on 07/02/20 @                                                    7
01:56 PM
Fees:
Service / 30                      $30.00
Mileage                            $5.80
TOTAL                             $35.80




                                                                     DONALD PHILLIPS, Sheriff
                                                                     WAPELLO, County, Iowa

                                                                    By                   /S/ Chris Shadduck Deputy Sheriff
                                                                                                                     Official Title

Fees charged to/paid by Attorney/Party:    Erbe Law Firm % Harley Erbe
                                           Date:_______________________                           Check #:_______________________




Printed Wednesday, July 8, 2020            Copy of Original Notice, if served, must be attached to this form.
